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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA,
                                Plaintiff,
                                                                         23-cr-10 (AS)
                    -against-
                                                               JUDGMENT OF ACQUITTAL
 AVRAHAM EISENBERG,
                                Defendant.



ARUN SUBRAMANIAN, United States District Judge:

       The defendant having been found guilty by a jury on April 18, 2024, Dkt. 152, the
defendant thereafter moving for a judgment of acquittal pursuant to Federal Rule of Criminal
Procedure 29, and the Court having granted the motion for judgment of acquittal by opinion dated
May 23, 2025, Dkt. 220,
       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that counts one and two are
vacated and defendant is acquitted on count three.
       The Clerk of Court is respectfully directed to terminate this case.

       SO ORDERED.

Dated: May 28, 2025
       New York, New York



                                                                ARUN SUBRAMANIAN
                                                                United States District Judge
